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                                   2                                UNITED STATES DISTRICT COURT
                                   3                           NORTHERN DISTRICT OF CALIFORNIA
                                   4

                                   5    DELPHINE ALLEN, et al.,
                                                                                       Case No. 00-cv-04599-TEH
                                   6                  Plaintiffs,
                                   7           v.                                      ORDER APPROVING PAYMENT
                                                                                       TO MONITOR AND COMPLIANCE
                                   8    CITY OF OAKLAND, et al.,                       DIRECTOR (JULY 2017)
                                   9                  Defendants.
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                                  12         The Court has reviewed the invoices submitted by the Monitor and Compliance
Northern District of California
 United States District Court




                                  13   Director for July 2017 and finds the requested amounts reasonable to pay. Accordingly,
                                  14   the Clerk shall disburse $12,500.00 to Warshaw & Associates, Inc., for the Compliance
                                  15   Director, and $86,893.78 to Police Performance Solutions LLC for the Monitor.
                                  16          The City is reminded of its obligation to deposit into the Court registry, within
                                  17   fourteen days, the total amount disbursed by this order. Jan. 19, 2017 Order at 2.
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                                  19   IT IS SO ORDERED.
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                                  21   Dated: 08/03/17                             _____________________________________
                                                                                    THELTON E. HENDERSON
                                  22                                                United States District Judge
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